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                                        ORDERED.

     Dated: January 24, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                       www.flmb.uscourts.gov

IN RE:                                         )
                                               )
Joel Vazquez Cotto,                            )       CASE # 6:18-bk-07271-CCJ
                                               )       CHAPTER 7
                Debtor.                        )

 ORDER AUTHORIZING RETENTION OF BK GLOBAL REAL ESTATE SERVICES

         THIS CASE came on for consideration without hearing on the Trustee’s Application to

Retain BK Global Real Estate Services to Market and Conduct Short Sale Auction Pursuant to

11 U.S.C. §§327 and 328 (Doc. No. 10) filed on January 23, 2019. The Court concludes that BK

Global Real Estate Services does not hold or represent an interest adverse to the estate and are

disinterested persons within the meaning of Section 101(14) of the Bankruptcy Code. The Court

further concludes that BK Global Real Estate Services is qualified to represent the Trustee and

that the Court’s authorization of their employment is in the best interest of the estate.

Accordingly, it is
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       ORDERED the Application is granted and the Court approves the retention of BK

Global Real Estate Services to sell real property located at Hacienda San Jose 125 Villa Caribe

Caguas, PR 00725. All compensation authorized is subject to the provisions of Section 330 of

the Bankruptcy Code and the hourly rate is not guaranteed and is subject to review.


Trustee, Lori Patton, is directed to serve a copy of this Order on interested parties who are non-
CM/ECF users and file a proof of service within 3 days of entry of the Order.


 
 




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